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                IN THE UNITED STATES DISTRICT COURT FOR
                    THE EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION


MONSANTO COMPANY, PHARMACIA, LLC,
and SOLUTIA, INC.,

                    Plaintiffs,
          v.

MAGNETEK, INC.,                               Case No. 4:23-cv-00204-HEA
GENERAL ELECTRIC CO.,
PARAMOUNT GLOBAL,                             Jury Trial Demanded
KYOCERA AVX COMPONENTS
CORPORATION,
CORNELL-DUBILIER ELECTRONICS, INC.
And THE GILLETTE COMPANY LLC,

                    Defendants.


   DEFENDANT THE GILLETTE COMPANY LLC’S REPLY MEMORANDUM IN
SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED PETITION
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       Plaintiffs’ Opposition to Defendant The Gillette Company LLC’s (“Gillette’s”) separate

arguments in support of its Motion to Dismiss raises more questions and concerns than it

purports to answer.1 First, Plaintiffs’ attempt to rely upon out-of-state letters, phone calls, and

just one supposed meeting in the State of Missouri by a predecessor of Gillette almost 50 years

ago does nothing to satisfy the requirements of either the long-arm statute or due process. There

is no personal jurisdiction here. Second, Plaintiffs now fully concede that huge swaths of their

duty to defend and indemnity claims are compromised by their extremely late tender to Gillette

and by the passing of more than five years between incurring actual loss and filing this lawsuit.

Plaintiffs concede this failure greatly impacts their damages, but importantly it is also a pleading

problem because Plaintiffs’ vague and imprecise First Amended Petition (“complaint”) does

nothing to allege which specific underlying PCB-Lawsuit liability, if any, could or would

actually survive against Gillette. This fails under Iqbal and Twombly. Third, Plaintiffs now also

fully concede they cannot recover from Gillette under Counts I and II for any attorneys’ fees,

costs, or expenses that were incurred prior to May 13, 2022, when they first tendered certain

lawsuits to Gillette, and even later for underlying PCB Lawsuits tendered after that time. Once

again, this not only impacts the scope of potential damages but further demonstrates the

pleadings are deficient because Plaintiffs’ vague and imprecise complaint does nothing to allege

which specific underlying PCB-Lawsuit liability, if any, could or would actually survive.2


1
 Plaintiffs filed a combined response in opposition to Defendants Kyocera AVX Components
Corporation, Cornell-Dubilier Electronics, Inc., and The Gillette Company LLC’s Motions to Dis-
miss. (Dkt. No. 105). The combined opposition is referred to herein as the “KCG Opposition.”
2
  In its initial motion, Gillette also joined, adopted in whole, and incorporated by reference, De-
fendants’ Joint Motion to Dismiss Counts I-IV and VII of Plaintiffs’ First Amended Petition. Gil-
lette likewise joins, adopts in whole, and incorporates by reference Defendants’ Joint Reply Brief
as well as the Reply Briefs of Defendants Kyocera AVX and CDE. Gillette does not wish to burden
the Court with unnecessary repetition of argument and case law here and, therefore, limits this
specific Reply Brief to issues not addressed elsewhere.



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I.     THE COURT LACKS PERSONAL JURISDICTION OVER GILLETTE

       Plaintiffs concede this Court lacks general jurisdiction over Gillette. And Plaintiffs have

not met and cannot meet their burden of establishing this Court has specific jurisdiction over Gil-

lette with respect to the Special Undertaking (“SU”). To demonstrate specific personal jurisdic-

tion, Plaintiffs were required to show that: (i) the Missouri long-arm statute applies; and (2) Gil-

lette has “sufficient minimum contacts with the State of Missouri to satisfy procedural due pro-

cess.” See, e.g., LaLiberte v. Nickrenz, 2016 WL 7535361, at *2 (W.D. Mo. Apr. 15, 2016).

       The following principles are also necessary to establish specific jurisdiction: (1) P.R.

Mallory “purposefully directed [its] activities at residents of the forum” and the cause of action

at issue “arise[s] out of or relate[s] to those activities,” Burger King Corp. v. Rudzewicz, 471

U.S. 462, 472 (1985); (2) P.R. Mallory took actions establishing a “substantial connection” with

Missouri and such “relationship must arise out of contacts that the ‘defendant himself’ creates

with the forum State,” Walden v. Fiore, 571 U.S. 277, 284 (2014); (3) the acts or relationship be-

tween Plaintiffs and the forum cannot create specific jurisdiction over P.R. Mallory, id. at 285

(“Put simply, however significant the plaintiff’s contact with the forum may be, those contacts

cannot be decisive in determining whether the defendant’s due process rights are violated.”)

(quotations omitted); and (4) specific jurisdiction depends on “the defendant’s contacts with the

forum State itself, not the defendant’s contacts with persons who reside there.” Id. at 285. Plain-

tiffs made no showing as to any of these requirements.

       A.      Missouri’s Long-Arm Statute Does Not Subject Gillette to Jurisdiction
       First, Plaintiffs do not dispute that a contract is made where acceptance occurs, but then

allege the Gillette SU was made in Missouri because Old Monsanto was the last to execute it.

But such allegation (even if true) does not result in personal jurisdiction.




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       Plaintiffs attach a February 4, 1972 letter sent to Old Monsanto from P.R. Mallory’s office

in Indiana enclosing two copies of the SU, which was mailed by P.R. Mallory after Old Monsanto

had already agreed to all of the terms. (See Ex. B to Kaley Aff., at 2.) Under Missouri law, this

letter constituted P.R. Mallory’s acceptance in Indiana of Old Monsanto’s offer. See Peet v. Ran-

dolph, 33 S.W.3d 614, 618 (Mo. Ct. App. 2000) (stating that Missouri looks to the “outward man-

ifestation of assent made to the other party”) (internal citations omitted).3 When Old Monsanto

sent the SU to sign, and provided additional edits, it constituted an offer and P.R. Mallory’s ac-

ceptance occurred in Indiana. The fact that Old Monsanto last signed the contract in Missouri is

irrelevant for jurisdictional purposes as acceptance was “made” when P.R. Mallory signed the

contract without any alterations or additions and returned it to Old Monsanto. Johnson Heater

Corp. v. Deppe, 86 S.W.3d 114, 119 (Mo. Ct. App. 2002). Additionally, P.R. Mallory’s letter

accepting the offer is dated February 4, 1972—the same date that appears on the signature page of

the SU. Thus, the SU became effective on that date – not any later date based on Old Monsanto’s

receipt of the same or signature – and was “made” for purposes of jurisdiction in Indiana on Feb-

ruary 4, 1972.

       Plaintiffs also argue that Gillette’s orders effectuating the purchase of PCBs create juris-

diction, but they do not. The invoices referenced by Plaintiffs clearly indicate that the PCBs were

being provided “Free on Board Sauget, Illinois,” not Missouri. (Kaley Aff. Ex. G (emphasis sup-

plied).) Additionally, the invoices state that if there were no written agreements for the purchase


3
 Plaintiffs rely on Baier v. Darden Rests., 420 S.W.3d 733, 740-41 (Mo. Ct. App. 2014), to argue
that the terms of a contract “must be accepted by both parties for a contract to be formed.” (KCG
Opp. at 10, quoting Baier). Baier is inapposite here because the issue there was whether the de-
fendant-employer was bound by an arbitration agreement that the defendant-employer failed to
countersign. Baier does not analyze the jurisdictional question of where a contract is made for the
purpose of assessing long arm jurisdiction. And the record here – based on documents provided
by Plaintiffs – makes clear that the SUs were made in Indiana, not Missouri.



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of products (and there were none alleged here), then the invoice would be subject to the terms

therein and therefore “accepted” by Gillette’s receipt of goods in Waynesboro, Tennessee. (Ex.

G.) Thus, if the purchase of PCBs by P.R. Mallory were considered a “transaction of business,” it

would be within the State of Tennessee, where the products were accepted. Whether the PCBs are

viewed as shipped from Illinois or received in Tennessee, the transaction did not occur in Missouri.

         Second, courts have rejected arguments that the mere sending of purchase orders and oc-

casional visits are sufficient to “transact business” in Missouri anyway. Plaintiffs’ argument that

“negotiation” took place in Missouri relies, in large part, upon P.R. Mallory making phone calls

to and/or sending letters to Missouri. But Missouri law is clear that the use of the mail or tele-

phone communications to Missouri is not considered the transaction of business for long-arm ju-

risdiction purposes. Johnson Heater Corp. v. Deppe, 86 S.W.3d 114, 120 (Mo. Ct. App. 2002);

Scullin Steel Co. v. Nat’l Railway Util. Corp., 676 F. 2d 309, 312-13 (8th Cir. 1982). And one

meeting in Missouri more than 50 years ago to discuss the SU is not a sufficient contact. Specifi-

cally, Plaintiffs argue that Scullin is inapposite here because in that case “negotiations of sales

contact [sic] all [occurred] in Pennsylvania” and there were “no visits to Missouri.” (KCG Opp.

at 15.) However, the lack of visits to Missouri by itself was not dispositive of that case. See also

State ex rel. Barnes v. Gephard, 834 S.W.2d 902 (Mo. Ct. App. 1992) (finding single visit insuf-

ficient to establish personal jurisdiction). It was simply one of many facts considered by the

Court.

         Additionally, although Plaintiffs claim that representatives of P.R. Mallory later visited

Missouri a few more times years after the SU was formed, the cause of action must directly arise

from P.R. Mallory’s activities in the state, which is simply not the case here merely because a

representative attended a conference hosted by Old Monsanto years after the SU’s execution.




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(Kaley Aff. Ex. F); see Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1025

(2021) (noting that the plaintiff’s claims “must arise out of or relate to the defendant’s contacts”)

(internal citations omitted).

        Plaintiffs’ reliance on Mead v. Conn, 845 S.W.2d 109, 112 (Mo. Ct. App. 1993) is also

misplaced. In Mead, an individual defendant physician purposefully availed himself of the Mis-

souri jurisdiction by transmitting medical exam results to Missouri for analysis under a business

relationship “where he paid for said services and stood to profit from the same.” Id. at 112. Plain-

tiffs here have not alleged that P.R. Mallory ever targeted Missouri specifically to conduct busi-

ness or to profit; it just happened to be where Old Monsanto was located at the time. And Plain-

tiffs’ forum-related activities cannot be attributed to Gillette. See, e.g., Fastpath, Inc. v. Arbela

Technologies Corp., 760 F.3d 816, 823 (8th Cir. 2014). Moreover, the court in Mead found that

such limited contacts, ultimately, could not support the assertion of personal jurisdiction over the

defendant in Missouri. Mead, 845 S.W.2d at 113 (affirming dismissal where assuming personal

jurisdiction for the mere sending of records into Missouri “would violate due process and offend

traditional notions of fair play and substantial justice.”)

        Third, Gillette did not commit a tortious act within Missouri. Plaintiffs have failed to

make a showing of negligence as to Gillette and cannot demonstrate personal jurisdiction as a

result. See, e.g., Cepia, LLC v. Universal Pictures Visual Programming Ltd., 177 F. Supp. 3d

1129, 1140 (E.D. Mo. 2016). Additionally, even if Plaintiffs’ negligent misrepresentation claim

had been sufficiently pleaded (and it is not), for extraterritorial acts to create jurisdiction in Mis-

souri those acts must include a course of action that is intentionally designed to have conse-

quences in Missouri. Plaintiffs’ “negligence” claim alleges no such intentional conduct.




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       Finally, Gillette did not contract for insurance pursuant to Section 506.500.1(5). Plaintiffs

claim that Gillette’s Motion did not address Section 506.500.1(5), (KCG Opp. at 17 n.13), but

that is not true. (See Dkt. No. 93, Motion to Dismiss at 5.) Additionally, and not surprisingly,

Plaintiffs cite no authority that the SU amounts to a contract for insurance for purposes of Sec-

tion 506.500.1(5). Rather, Plaintiffs rely upon a Seventh Circuit case that does not address juris-

diction at all and has no bearing on Missouri law, which has found that indemnification agree-

ments do not constitute insurance contracts. E.g., Holiday Inns, Inc. v. Thirteen-Fifty Inv. Co.,

714 S.W.2d 597, 602 (Mo. Ct. App. 1986) (“Contracts of indemnity are not synonymous with

contracts of insurance”); see also Esicorp, Inc. v. Liberty Mut. Ins. Co., 193 F.3d 966, 971 (8th

Cir. 1999) (same). This is consistent with other jurisdictions that reject jurisdiction based on in-

demnification agreements. See, e.g., Boney v. Carnival Corp., 2009 WL 10712207 (S.D. Fla.

Oct. 29, 2009) (rejecting argument that insurance provision of Florida’s long-arm statute should

confer jurisdiction because of an “indemnification agreement” with defendant). Plaintiffs failed

to meet their burden to demonstrate the applicability of Section 506.500.1(5).

       B.      Exercising Jurisdiction over Gillette Would Run Afoul of Due Process

       Personal jurisdiction “can be asserted only if it comports with the strictures of the Due

Process Clause.” Viasys., Inc. v. EBM-Papst St. Georgen GmbH & Co., KG, 646 F. 3d 589, 594

(8th Cir. 2011) (emphasis added). Gillette’s contacts with Missouri related to the SU do not

amount to Gillette (or P.R. Mallory) having purposefully availed itself of Missouri law such that

it could reasonably anticipate being haled into Missouri’s courts. See, e.g., World Wide

Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980).

       To evaluate the sufficiency of Defendant’s contacts, this Court considers five factors: (1)

the nature and quality of contacts with the forum state; (2) the quantity of such contacts; (3) the

relation of the cause of action to the contacts; (4) the interests of the forum state in providing a


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forum for its residents; and (5) the convenience of the parties. Burlington Indus., Inc. v. Maples

Indus., Inc., 97 F .3d 1100, 1102 (8th Cir.1996). Significant weight is afforded to the first three

factors, and the other factors are secondary and not dispositive. Id. 4

       As discussed herein and in the Motion, the SU was made in Indiana, where P.R. Mallory

accepted the terms of Old Monsanto’s offer and manifested its intent to accept Old Monsanto’s

offer by executing the document. Even if the SU could be deemed to have been made in Mis-

souri, contracting with a Missouri entity is insufficient to establish the necessary minimum con-

tacts. See Fastpath, Inc. v. Arbela Techs. Corp., 760 F.3d 816, 821 (8th Cir. 2014); Bell Paper

Box, Inc. v. Trans W. Polymers, Inc., 53 F.3d 920, 922-23 (8th Cir. 1995); Cepia, LLC v. Univer-

sal Pictures Visual Programming Ltd., 177 F.Supp.3d 1129, 1139 (E.D. Mo. 2016). And “[t]he

[U.S. Supreme] Court long ago rejected the notion that personal jurisdiction might turn on ‘me-

chanical’ tests or on ‘conceptualistic ... theories of the place of contracting or of performance.’”

Burger King, 471 U.S. at 478 (citations omitted); see also Fastpath, Inc., 760 F.3d at 821.

       Relying on two cases, Plaintiffs argue that the “nature and terms” of the SUs create con-

nections with Missouri sufficient to satisfy due process because Defendants knew or should have

known that they could be required to defend or indemnify Old Monsanto in Missouri. (KCG

Opp. at 19). Plaintiffs are wrong. There is no basis to argue that the SU itself creates such a

“substantial connection” with Missouri that Gillette should have reasonably expected to be haled

into the Missouri courts. The cases cited by Plaintiffs are not analogous to the situation at hand.



4
 Plaintiffs seek to bolster their due process argument by highlighting Missouri’s generic interest
in providing a forum for its residents and claiming that litigation in Missouri would not incon-
venience the parties. However, Gillette (and P.R. Mallory) has not purposefully availed itself of
the protections of Missouri law merely by contracting with a Missouri entity or sending pur-
chases orders into the state, and the convenience of the parties factor is neutral. Missouri may be
convenient for Plaintiffs; but not for Gillette. See Burlington Indus., Inc., 97 F .3d 1100 at 1103.
The same is true here. In fact, Plaintiffs allege they have been sued across the country.


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U.S. Durum Milling Inc v. Frescala Foods, Inc. 785 F.Supp. 1369 (E.D. Mo. 1992) involved

facts where the contract anticipated the defendant driving into Missouri to pick up the contracted

goods and failed to recognize that the mere entering of a contract is insufficient to satisfy due

process. Divers. Ingred. Inc. v. Triple-T Foods, Inc., 2010 WL 1930009 (E.D. Mo. May 10,

2010) involved the storage of goods in Missouri. No such facts exist here.5 Additionally, Plain-

tiffs’ two cases predate Walden v. Fiore, 571 U.S. 277, 289 (2014), which warns against “at-

tribut[ing] a plaintiff’s forum connections to the defendant and mak[ing] those connections deci-

sive in the jurisdictional analysis,” which is exactly what Plaintiffs seek to do here.

       Plaintiffs next contend that (generically) Defendants’ purchases of PCBs were governed

by Missouri choice-of-law provisions. (KCG Opp. at 20). However, the choice-of-law provisions

Plaintiffs point to as connections to Missouri are not actually terms or conditions of the SUs (the

only contracts at issue in this case). Plaintiffs do not argue that the Gillette SU contains any

choice-of-law provision, let alone a provision that would indicate Gillette purposefully availed

itself of Missouri’s laws with respect to its purported obligations thereunder. In any event, such

choice-of-law provisions are insufficient anyway. Digi-Tel Holdings, Inc. v. Proteq Telecommu-

nications (PTE), Ltd., 89 F.3d 519 (8th Cir. 1996) (finding choice-of-law provisions insufficient

to satisfy due process). Plaintiffs admit this. (See KCG Opp. at 20 n. 15.).

       Plaintiffs also contend (generically) that due process is satisfied by Defendants’ purchase

of PCBs “through a series of purchases that were accepted in Missouri.” (KCG Opp. at 19-20).




5
 Plaintiffs cite Burnham v. Sup. Court of Cal., Cnty of Marin, 495 U.S. 604, 619 (1990), for the
proposition that physical presence alone constitutes due process. However, Burnham arose in a
completely different context. The question there was whether personal service of a summons on
the individual defendant in the state of California was still sufficient to exercise personal juris-
diction over the defendant in divorce proceedings. There are no such issues in this case.


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But the only invoices Plaintiffs attach relating to P.R. Mallory and referencing PCBs list ship-

ments not from Missouri but instead from Sauget, Illinois to Waynesboro, Tennessee. (Kaley

Aff. Ex. E.)

        Finally, although Plaintiffs attempt to characterize P.R. Mallory’s purchase of PCBs as

sufficient contact with Missouri, such contacts are not directly connected to Plaintiffs’ claims

concerning the SU, and P.R. Mallory did not engage in meaningful contact with Missouri to ac-

quire the products. P.R. Mallory issued its purchase orders from outside Missouri, and even then

merely had telephone conversations or sent letters from outside of Missouri, and the shipments

were made from outside of Missouri. (See Kaley Aff. Exs. E and F.) This is insufficient to create

personal jurisdiction in Missouri. Consequently, the quantity and quality of the minimal contacts

Plaintiffs try to create are not sufficient under the Due Process Clause to justify this Court’s exer-

cise of jurisdiction over Gillette.

II.     PLAINTIFFS FAIL TO STATE A CLAIM FOR RELIEF IN COUNTS I AND V,
        AND FOR ANY FEES AND COSTS INCURRED PRIOR TO MAY 13, 2022

        As set forth in Gillette’s Motion to Dismiss, “a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The

“[f]actual allegations must be enough to raise a right to relief above the speculative level.”

Twombly, 550 U.S. at 555. There must be more than “a sheer possibility that a defendant has

acted unlawfully” and “[w]here a complaint pleads facts that are merely consistent with a

defendant’s liability, it stops short of the line between possibility and plausibility of entitlement

to relief.” Iqbal, 556 U.S. at 678 (internal quotation marks omitted). Conclusory allegations are

“disentitle[d]. . . to the presumption of truth.” Id. at 681.




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       A.      Plaintiffs Fail to State a Claim for Breach of Contract for Refusal to Defend

       In the operative complaint, Plaintiffs concede they did not tender defense of the PCB

Lawsuits to Gillette until May 13, 2022. (Pet. at ¶ 229.) And this tender only covered a very lim-

ited number of cases; most PCB Lawsuits were not tendered to Gillette until many months later;

and apparently some still have never been tendered to Gillette at all. (Id.) In Plaintiffs’ Opposi-

tion, rightly, “Monsanto agrees that its breach of contract claims against Gillette are uniquely

limited by the date of its initial tender to Gillette.” (See KCG Opp. at 32 (emphasis supplied).)

Plaintiffs try to argue, however, that because something against Gillette might potentially survive

on some unidentified claim relating to some unidentified underlying PCB Lawsuit, Gillette’s Mo-

tion to Dismiss ought to be denied in full. Under this Hail Mary argument, both this Court and

Gillette are forced to guess which (if any) specific underlying PCB Lawsuit and/or which spe-

cific tender relating thereto is supposedly the source of Plaintiffs’ claimed breach of contract.

But this does nothing to satisfy the basic pleading requirements. Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Vagueness and guesswork are

insufficient to state a claim. Count I should therefore be dismissed against Gillette.

       B.      Count V is Barred By the Statute of Limitations Because Plaintiffs Sustained
               and Were Capable of Ascertaining Damages Prior to August 3, 2017

       The complaint facially establishes that the statute of limitations has run on Plaintiffs’

Count V claim for Negligence. See Cush-El v. Synchrony Bank, No. 4:19-cv-2771, 2020 WL

122926, at *2 (E.D. Mo. Jan. 10, 2020) (granting Rule 12(b)(6) dismissal on statute of limita-

tions grounds where defense was established on the face of the complaint). Negligence is subject

to a five-year statute of limitations. Mo. Rev. Stat. § 516.120. Negligence claims accrue “when

the damage resulting therefrom is sustained and is capable of ascertainment.” Mo. Rev. Stat.

§ 516.100. Plaintiffs do not dispute that damage sustained need not be precise; rather, “[t]he most




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that is required is that some damages have been sustained, so that the claimants know that they

have a claim for some amount.” Dixon v. Shafton, 649 S.W.2d 435, 439 (Mo. banc 1983) (em-

phasis supplied). “[A] cause of action may accrue even though the full extent of the plaintiff’s

injuries is not yet determinable.” Duvall v. Yungwirth, 613 S.W.3d 71, 80 (Mo. Ct. App. 2020).

        Plaintiffs concede they named Gillette as a defendant on August 3, 2022, seeking dam-

ages incurred in defending and resolving the PCB Lawsuits. See Pet. ¶ 290. But Plaintiffs also

specifically allege they were on notice of these injuries earlier than August 3, 2017—more than

five years prior to the filing of the complaint. Specifically, the complaint acknowledges Plaintiffs

were named as defendants and started to incur costs of defense in PCB Lawsuits more than five

years prior to filing. See, e.g., Pet. Ex. 11 (complaint filed on August 3, 2015 in City of San Di-

ego v. Monsanto Co., et al., No. 3:15-cv-578 (S.D. Cal)); see also Dkt. No. 93, Gillette Motion to

Dismiss at 9 n. 6); Pet. ¶¶ 169, 178, 189, 197. And Plaintiffs admit they even started resolving

these PCB Lawsuits (and incurring liability) before August 3, 2017—for example, settling and

paying “a significant amount” to resolve certain PCB Lawsuits in 2016. Id. ¶ 176. Under Mis-

souri law, this triggered the statute of limitations. See Dixon, 649 S.W.2d at 438 (finding appel-

lants had suffered “some damage” when they hired counsel that would have otherwise been un-

necessary); Bormaster v. Baldridge, 723 S.W.2d 533, 540 (Mo. Ct. App. 1987) (negligence ac-

crued when appellant paid initial $500 fee to attorney to represent him in litigation that had not

yet settled).

        While Plaintiffs claim that a question of fact prevents dismissal, such assertion is without

any support. This is not surprising in light of the Eighth Circuit recently stating that: “The capa-

ble of ascertainment standard is an objective one; therefore, when relevant facts are uncontested,

the statute of limitations issue can be decided by the court as a matter of law.” City of Carthage




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v. Un. Pac. RR, Co., 61 F.4th 565, 569 (8th Cir. 2023) (emphasis added) (internal citations omit-

ted). Analogously here, taking Plaintiffs’ allegations as true, the claim should be dismissed.

       Nor have Plaintiffs established the continuing wrong rule applies here. Plaintiffs merely

claim they alleged a breach both before and after signing of the SU. But the SU with Gillette was

signed fifty years ago. As the Eighth Circuit recently explained: “Almost all the Missouri court

of appeals opinions interpreting Davis apply the continuing wrong rule when the defendant en-

gages in ongoing affirmative acts that harm the plaintiff.” Id. at 571. Plaintiffs’ allegations do

not plausibly allege any ongoing affirmative acts by Gillette (or even P.R. Mallory) that harm

Plaintiffs today. As such, the negligence claims are time barred.

III.   CONCLUSION

       For the above reasons, those set forth in Gillette’s Motion to Dismiss, and those set forth

in the other joint and separate briefing of the Defendants in which Gillette has joined, Gillette

respectfully requests that this Court dismiss Plaintiffs’ First Amended Petition against Gillette in

its entirety and grant such other and further relief as the Court may deem just and proper.



 Dated: June 27, 2023                              Respectfully submitted,
                                                   BERRY SILBERBERG STOKES PC

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                                CERTIFICATE OF SERVICE

       I certify that on June 27, 2023, a true and accurate copy of the foregoing was filed with the

Court via CM/ECF, which will send a notice of electronic filing to all counsel of record.

                                                     /s/ Robert P. Berry




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